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                  EXHIBIT A
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Attorneys þr plaintiff Alfred H. Siegel, solely
in his capacity as Trustee of the Circuit City
Stores, Inc, Liquidating Trust
fadditional counsel listed on signature page]



                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA

ALFRED H, SIEGEL, AS TRUSTEE OF THE
CIRCUIT CITY STORES, INC. LIQUIDATING                Case No
TRUST,

                               Plaintiff,
                                                     COMPLAINT [REDACTED]

TECHNICOLOR SA (f/k/a THOMSON SA),
TECHNICOLOR USA, INC. (f/k/a THOMSON
                                       JURY TRIAL DEMANDED
CONSUMER ELECTRONICS, INC.),
VIDEOCON INDUSTRIES, LTD.,
TECHNOLOGIES DISPLAYS AMERICAS LLC
(flW aTHOMSON DISPLAYS AMERICAS LLC),
MITSUBISHI ELECTRIC CORPORATION;
MITSUBISHI ELECTRIC USUAL SOLUTIONS
AMERICA, INC.; ANd MITSUBISHI ELECTRIC
& ELE,CTRONICS USA, INC.,
                               Defendants.




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I

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                 Plaintiff, Alfred H. Siegel, as the duly appointed Trustee of the Circuit City Stores, Inc.
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         Liquidating Trust (the "Circuit City Trust"), submits this Complaint against all Defendants
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         named herein, and hereby alleges as follows:
5
         I.      INTRODUCTION
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                         1.     Plaintiff Circuit City Trust brings this action to recover those damages to
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         Circuit City Stores, Inc., and its affiliated companies ("Circuit City") caused by a long-running
8
         conspiracy extending from at least March I, 1995, through at least November 25, 2007 (the
9
         "Relevant Period"), conducted by an international cartel formed by Defendants and their co-
l0
         conspirators. The purpose and effect of this conspiracy was to fix, raise, stabilize and maintain
11
         prices for cathode ray tubes ("CRTs").
t2
                         2.     Defendønt Technícolor SA, whích during the Relevant Períod was
13
         known as Thomson SA, has admitted that ít particìpated in the conspírøcy to fíx the prices of
t4
         CRTs. In íts 2011 Annual Report to shøreholders, Technicolor SA stated that it "played a
l5                                                                                   'While
         minor role ín the alleged antícompetítíve conduct [regardíng CRTsJ."                 the Circuit City
t6
         Trust disputes that Technicolor SA's role in the conspiracy was minor, whatever that may mean'
17
         and believes that discovery in this case to date has demonstrated and further discovery will
18
         demonstrate Technicolor SA's role was substantial, there is no dispute that Technicolor SA
    19
         participated in fixing the prices of CRTs. Following an investigation lasting four years, ín
20
         December 2012 the European Commíssíon levied ø Jine of €38,6 millíon agøínst Technícolor
21
         SAfor pørticipating ín ø conspírøcy to Jîx CRT prices. In its 2012 Annual Report, Technícolor
22
         SA achnowledged thøt "[fJollowíng the Europeøn Commìssìon decisíon, purchasers may bríng
ZJ
         índívíduat cløíms against the Company seekíng compensutíon for alleged loss suffered as a
24
         result of the ønti-competítive conduct,"
25
                          3.    Defendants and their co-conspirators are or were among the leading
26
         manufacturers of: (a) color picture tubes ("CPTs"), which are CRTs used primarily in color
    27
         televisions; (b) color display tubes ("CDTs"), which are CRTs used primarily in color computer
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         monitors; and (c) electronic devices containing CPTs (such as televisions) or CDTs (such as
2
         computer monitors). For the pu{poses of this Complaint, CPTs of all sizes and the products
J

         containing them shall be referred to collectively as "CPT Products." Also for the purposes
                                                                                                                of
4
         this Complaint, CDTs of all sizes and the products containing them shall be refened to as "CDT
5
         products.', CDT products and CPT Products shall be referred to collectively herein as "CRT
6
         Products,"
7
                        4.     During the Relevant Period, Defendants and their co-conspirators
8

         controlled the majority of the CRT industry, a multibillion dollar market, which in
                                                                                             1999 alone
9
         generated over $19 billion dollars in gross revenue. During the Relevant Period, virtually
                                                                                                            every
t0
         household in the United States owned at least one CRT Product.
1l
                        5.      Since the mid-1990s, the CRT industry faced significant economic
t2
         pressures as customer preferences for other emerging technologies shrank
                                                                                           profits and threatened
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                                                                                                prof,rtability, and
         the sustainability of the industry. In order to maintain price stability, increase
14

         decrease the erosion of pricing in the CRT market, Defendants
                                                                                       and their co-conspirators
    l5
                                                                                        the price at which CRTs
         conspired, combined and contracted to fix, raise, maintain and stabilize
    16
         were sold in the United States.
    17
                         6.      With respect to CRTs, Defendants, their co-conspirators and/or their agents
    18

         agreed, inter alia, to: (a) fix target prices and price guidelines;
                                                                               (b) exchange pertinent information
    19

         of, inter alia, shipments, prices, production and customer demand; (c) coordinate public
    20
          statements regarding available capacily and supply; (d) resolve issues created
                                                                                                by asymmetrical
    21
                                                                                                 meetings secret;
          vertical integration among some of the co-conspirators; (e) keep their collusive
    22
          (f; expose cheating on the agreements and to discuss the reconciliation of accounts; (g) allocate
    23
                                                                                                     producers in
          market share of overall sales; (g) influence and, at times, coordinate pricing with
    24
          other geographic areas; (h) limit competition for certain key customers; (i) allocate
                                                                                                    customers; fi)
    25
          allocate each producer's share of certain key customers' sales; and (k) restrict output.
    26
                         7.      The conspiracy concerning CRTs commenced with bilateral meetings that
    27
          began in at least March of 1995 and continued throughout the Relevant Period.
                                                                                                Also beginning in
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         1995, the co-conspirators began to engage in informal group meetings. By 1997, these group
2

         meetings had become more formalized, as described in greater detail below. There were at least
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         500 conspiracy meetings during the Relevant Period, including hundreds of group meetings and
4
         hundreds of bilateral meetings. These meetings occurred in various locales, including Taiwan,
5

         South Korea, Indonesia, Thailand, Singapore, Malaysia, China, the U.K,, Europe, and the United
6

         States. These meetings included representatives from the highest levels of the respective
7
         companies, as well as regional managers and others.
8

                         8.           During the Relevant Period, the conspiracy affected billions of dollars of
9
         commerce throughout the United States'
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                         g.           This conspiracy is being investigated by the United States Department of
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         Justice (,'DOJ") and by multiple foreign competition authorities, including the European
t2
         Commission, the Korean Fair Trade Commission, and the Japan Fair Trade Commission.
l3
         Technicolor USA, Inc, (flVaThomson Consumer Electronics, Inc.) was subpoenaed by the DOJ
14

         in connection with its investigation of CRT price-fixing. Technicolor SA is the subject of an
l5
         investigation by the Mexican Federal Competition Commission, and its affiliate in Brazil is under
16

         investigation by the Brazilian Ministry of Justice for fixing the prices of CRTs. The first
t7
         participant to be indicted by the DOJ was C.Y. Lin, the former Chairman and CEO of co-
18

         conspirator Chunghwa Picture Tubes, Ltd., who had a two-count indictment issued against him by
19

         a federal grand jury in San Francisco on February I0,2009. Since then, five more individuals
20
         have been indicted in connection with Defendants' CRT price-f,rxing conspiracy.
2t
                         10.          In March 2011, co-conspirator Samsung SDI Company, Ltd. ("Samsung
22
         SDI") pleaded guilty to f,rxing the prices of CDTs during at least the nine-year period from
23
         January 1997 to March 2006. Samsung SDI paid a criminal fine to the United States of $32
24
         million. The conspiracy to which Samsung SDI pleaded guilty was agreeing with its competitors
25
         and co-conspirators to raise the prices of CDTs, to reduce output of CDTs, and to allocate target
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         market shares for the CDT market overall and for certain customers.
    27
                             1   1.   Circuit City was a leading national retailer of consumer electronics and
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                                                                4
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opeïated over 700 electronics superstores in the United States. Throughout the Relevant Period,

Circuit City purchased CRT Products manufactured by Defendants and their co-conspirators both

directly from Defendants and from other vendors. These purchases took place throughout the

United States, including California and Illinois, where Circuit City's multiple regional distribution
                                                                                                               prices
centers received CRT products manufactured by Defendants and their co-conspirators at

that were artificially inflated based on Defendants' conspiracy'

                 12.       On November 10, 2008, Circuit City Stores, Inc. and afhliated domestic

companies commenced cases in the United States Bankruptcy Court for the Eastem District
                                                                                                                       of

Virginia (the "Bankruptcy Court") under Chapter 11 of the Bankruptcy Code.l On September

10, 2010, the Bankruptcy Court entered its Findings of Fact, Conclusions of Law and
                                                                                                                Order

Confirming Modified Second Amended Joint Plan of Liquidation of Circuit City Stores, Inc. and

its Afflliated Debtors (the "plan Confirmation Order"), which provided for the establishment
                                                                                                                       of

the Circuit City Stores, Inc. Liquidating Trust and the appointment of Alfred H. Siegel
                                                                                                           as trustee


of the Circuit City Trust. pursuant to the Plan Confirmation order, on the Effective Date of
                                                                                                                      the


Modified Second Amended plan of Liquidation (the "Plan"), all property of the Circuit City

bankruptcy estates, including all causes of action, were to be vested in and transferred
                                                                                                                to the

circuit city Trust. The Plan became effective on November 1, 2010.
                 13.       During the Relevant Period, Circuit City purchased CRT Products in the

United States and elsewhere directly and indirectly from Defendants and their co-conspirators,

and/or Defendants' and their co-conspirators' subsidiaries and afflrliates andlot any agents
Defendants or Defendants' subsidiaries and affiliates controlled. Circuit City thus suffered

damages as a result of Defendants' and their co-conspirators' conspiracy, and brings this
                                                                                                             action to

recover the overcharges paid for the CRT Products containing price-f,rxed CRTs it purchased

during the Relevant Period.

                     14,   This case is related to and concerns the same anti-competitive conspiracy
                                                                                                                     Ltd.,
 and many of the same transactions and events that are presently pending in Siegel v. Hitachi,

                                                                                                           for the
 1
  In re Circuit City Stores, Inc., et al., CaseNo. 08-35653 (KRH), in the United States Bankruptcy Court
 Eastem District of Virginia,
                                                          5
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         Individual Case No. 1l-cv-05502 (Master File No, 3:07-cv-05944-SC, MDL No. 1917)' before
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         the Honorable Samuel Conti in this court. Both this case and Siegel v. Hitachi are suits for
J

         damages arising out of the conspiracy to fix the prices of and restrain competition for CRTs
                                                                                                          in
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         violation of the federal antitrust laws and state antitrust and unfair competition laws.
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II.     .IIIRISDICTION AND VR,NIIE
                    15.   Plaintiff brings this action to recover damages, including treble damages

under Section 4 of the Clayton Act, costs of suit and reasonable attorneys' fees arising from

Defendants'violations of Section 1 of the Sherman Act (15 U.S.C. $ 1)'

                    16.   Plaintiff also brings this action pursuant to various state laws listed herein

because Circuit City purchased in those states CRT Products from both Defendants (and their co-

conspirators) and non-defendant vendors which contained price-fixed CRTs manufactured by

Defendants and their co-conspirators.

                    17. The Court has subject matter jurisdiction pursuant to Sections 4 and 16 of
the Clayton Act (15 U.S.C. $$ 15 and26) and28 U.S.C. $$ 1331 and 1337. The Court has

supplemental jurisdiction over Plaintiff s state law claims listed herein under 28 U'S.C' $ 1367

because they arise from the same nucleus of operative facts alleged in this Complaint. Plaintiff
                                                                                                       s


state law claims are so related to their claims under Section 1 of the Sherman Act that they
                                                                                                   form

part of the same case or controversy.

                    18.   The activities of Defendants and their co-conspirators, as described herein,
                                                                                                     did
involved U.S. import trade or commerce and/or were within the flow of, were intended to, and

have a direct, substantial and reasonably foreseeable effect on Unites States domestic and import

trade or commerce. This effect gives rise to Plaintiffs antitrust claims. During the Relevant
period, Defendants' conspiracy affected the price of CRT Products purchased in the United

 States. In particular, Defendants' and their co-conspirators' conspiracy directly and substantially

affected the price of CRT Products purchased by Circuit City in the states identified herein.

                    lg.    This Court has jurisdiction over each Defendant named in this action under

 Section 12 ofthe Clayton Act (15 U.S.C. S 22). Defendants and their co-conspirators purposely

 availed themselves of the laws of the United States as they manufactured CRT Products for sale

 in the United States, or CRTs which were incorporated into CRT Products Defendants and their

 co-conspirators knew would be sold to customers in the United States. Defendants' and their co-

 conspirators' conspiracy affected this commerce in CRT Products in the United States.

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                               20. Venue is proper in the Northern District of California under Section 12 of
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           the Clayton Act (15 U,S.C. g 22) and 28 U.S.C. $ 1391 because each Defendant is either an alien
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           corporation, transacts business in this District, or is otherwise found within this District. In
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           addition, venue is proper in this District under 28 U.S.C, $ 1391 because a substantial part of the
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           events or omissions giving rise to this claim occurred in this District, Defendants and their co-
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           conspirators knew that CRT Products containing price-fixed CRTs would be sold and shipped
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           into this District
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9          ilI.    PARTIES

10                 A.          Plaintiff
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                               21.    Circuit City Trust is a tiquidating trust organized under the laws of the
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           State of Virginia and established pursuant to the Plan Confirmation Order. Alfred H' Siegel,
                                                                                                            the
13
           Trustee of the Liquidating Trust, is a Califomiacitizen and resident.
t4
                               22.    Circuit City was headquartered in Richmond, Virginia. During the
l5
           Relevant period, Circuit City purchased in the United States CRT Products directly and
                                                                                                      indirectly
l6
           from the Defendants , andlor the Defendants' subsidiaries and aff,rliates and/or any agents the
    t7
           Defendants or Defendants' subsidiaries and affrliates controlled. As such, Circuit City suffered
    18

           injury as a result of Defendants' and their co-conspirators' unlawful conduct. Circuit City's
    t9
           negotiations for the purchase of CRT Products took place in the United States; purchase orders
20
           for CRT products were issued from the United States; and invoices for CRT Products were
2l
           received by Circuit City in the United States'
22
                               23.     Upon information and belief, Circuit City purchased CRT Products, which
23
           contained CRTs manufactured by Defendants and their co-conspirators and sold at artificially
24
           inflated prices because of the price-fixing conspiracy, in California and Illinois
    25
                               24.     Upon information and belief, during the Relevant Period, Circuit City
    26
           received shipments of and took title to CRT Products at its disÍibution centers in Walnut,
    2',7

            California; Livermore, California, and Long Beach, Califomia, among other locations, and
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therefore purchased products in California for purposes of the California laws invoked in this

Complaint. Under Circuit City's contracts with defendants and other CRT Product vendors,
Circuit City did not take title to a substantial amount of the CRT Products ordered by Circuit City

until it received and accepted shipments of those CRT Products at its distribution centers in
California. From its distribution centers in California and other states, Circuit City shipped CRT
products to its retail stores. Circuit City also shipped CRT Products directly to consumers from

its distribution centers in California through online sales.

                    25.   Upon information and belief, during the Relevant Period, Circuit City

received shipments of and took title to CRT Products at its distribution center in Marion, Illinois,

among other locations, and therefore purchased products in Illinois for purposes of the Illinois

law invoked in this Complaint. Under Circuit City's contracts with Defendants and other CRT
product vendors, Circuit City did not take title to a substantial amount of the CRT Products

ordered by Circuit City until it received and accepted shipments of those CRT Products
                                                                                                  at its

                                                                                                      City
distribution center in lllinois. From its distribution center in Illinois and other states, Circuit

shipped CRT products to its retail stores. Circuit City also shipped CRT Products
                                                                                             directly to

consumers from its distribution center in Illinois through online sales.

         B.         Defendants

                    1.    Thoms     Entities

                    26.   Defendant Thomson SA (now known as Technicolor SA) ("Thomson SA")

is a French Corporation with its principal place of business located at I-5 Rue Jeanne d'Arc
 92130Issy-les-Moulineaux, France. Thomson SA, on its own or through its wholly owned

 subsidiary Thomson Consumer Electronics, Inc., and other subsidiaries, was a major

 manufacturer of CRTs for the United States market, with plants located in the United States,

 Mexico, China and Europe. Thomson SA sold its CRTs internally to its television-manufacturing

 division, which had plants in the United States and Mexico, and to other television manufacturers

 in the United States and elsewhere. For much of the Relevant Period, the television
 manufacturing division of Thomson SA manufactured and sold in the United States CRT
                                                    9
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     televisions under the RCA and GE brands. In July 2005, Thomson SA sold its CRT business to
2
     defendant and co-conspirator Videocon Industries, Ltd. for €240 million. Simultaneously,
)
     Thomson SA invested a total of €240 million in Videocon, comprising a€225 million investment
4
     in Videocon Industries, Ltd, and a €15 million investment in Videocon International, and acquired
5

     I3.1% of Videocon Industries, Ltd. The agreement with Videocon provided that Thomson
6

     management would help Videocon run the CRT business during the transition period and beyond.
7

     Videocon and Thomson also agreed to set up Preferred Supplier Agreements for Thomson's
8

     display components business. Thomson SA also received at least one seat on Videocon's board
9

     of directors when it invested in Videocon Industries, Ltd. Thomson SA maintained at least a I0o/o
10

     ownership interest in Videocon Industries, Ltd. for the remainder of the Relevant Period. In
1l
     January 2010, Thomson SA changed its name to Technicolor SA. During the Relevant Period,
t2
     Thomson SA manufactured, marketed, sold and/or distributed CRT Products, either directly or
13

     through its subsidiaries or affiliates, to customers throughout the United States.
14
                        27.   Defendant Thomson Consumer Electronics, Inc. (now known as
l5
     Technicolor USA, Inc.) ("Thomson Consumer") is a United States corporation with its principal
t6
     place of business located at 10330 N Meridian St., Indianapolis, Indiana46290-1024. Thomson
17

     Consumer is a wholly owned subsidiary of Thomson SA and was Thomson SA's primary
l8
     subsidiary for the manufacture and sales of CRTs in the United States during the Relevant Period.
t9
     Thomson Consumer was a major manufacturer of CRTs for the United States market, with plants
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     located in Scranton, Pennsylvania; Marion, Indiana; and Mexicali, Mexico. Thomson Consumer
2t
     sold its CRTs to television manufacturers in the United States, Mexico and elsewhere' Thomson
22
     Consumer's CRT business was sold by its parent Thomson SA to Videocon Industries, Ltd. in
23
     2005. Simultaneously, Thomson Consumer's parent company Thomson SA invested €240
24
     million into Videocon Industries, Ltd. and obtaine d 13J% ownership of Videocon Industries, Ltd.
25
     Thomson SA also received at least one seat on Videocon's board of directors when it invested in
26
     Videocon Industries, Ltd. The agreement with Videocon provided that Thomson management
27
     would help Videocon run the CRT business during the transition period and beyond. Videocon
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         and Thomson also to set up Preferred Supplier Agreements for Thomson's displays components
2

         businesses. Thomson SA maintained at least a 10olo ownership interest in Videocon Industries,
3

         Ltd. throughout the Relevant Period. Thomson Consumer was a parent corporation of its wholly
4
         owned subsidiary, Thomson Displays Americas LLC. In January 2010, Thomson Consumer
5

         Electronics, Inc. changed its name to Technicolor USA, Inc. During the Relevant Period,
6

         Thomson Consumer manufactured, marketed, sold andlor distributed CRT Products either
7

         directly or through its subsidiaries or affiliates throughout the United States.
8

                             28.   Defendant Thomson SA had sufficient minimum contacts with the United
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         States during the Relevant period for it to be subject to personal jurisdiction in the United States.
10

         Thomson SA purposefully availed itself of the United States market for CRTs and CRT products.
ll
         Thomson SA hxed prices and constrained competition on CRTs it and its wholly owned
12

         subsidiary in the United States, Thomson Consumer, sold in the United States. Thomson SA had
t3
         significant contacts with the United States, and it dominated and/or controlled the finances,
t4
         policies, and/or affairs of its U.S.-based subsidiary, Thomson Consumer, relating to the antitrust
15

         violations alleged in this Complaint. During the Relevant Period, Thomson SA was a large
t6
         multinational industrial and technology company. Thomson SA was neither a mere holding
t7
         company nor a corporate shell, and its subsidiaries, including Thomson Consumer, were more
18

         than simple investment mechanisms for diversifying risk. Thomson SA had a controlling role in
t9
         the operation of its subsidiaries and exercised a central management function over its subsidiaries,
20
         including Thomson Consumer, which served the function of servicing the pivotal U.S. CRT
2l
         market. During the Relevant Period, between 40-50% of Thomson SA's revenues were derived
22
         from the United States, and Thomson SA's CEO described the United States as Thomson SA's
23
         most important market. Thomson SA managed its business centrally, including that of U'S.
24
         subsidiary Thomson Consumer, and its management and board of directors set its policies and
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         direction. Thomson SA employees oversaw the United States profits and losses associated with
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         Thomson Consumer's high-end and value TV businesses. Thomson SA also was involved in
    27
         planning and purchasing discussions with U.S. CRT customers, Thomson SA had to approve the
    28

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purchases made by U,S. customers, and Thomson SA was involved in CRT production and

pricing discussions relating to CRTs manufactured in Mexico for the North American market.

During the Relevant Period, many Thomson SA executives also served as executives and/or board

members of Thomson Consumer, and Thomson Consumer executives served as executive officers

of or directors of Thomson SA, including the Chairman and CEO of Thomson SA who
simultaneously served as the President and CEO of Thomson Consumer, and thereafter as the

Chairman of Thomson Consumer:


Name                        Role with Thomson SA               Role with Thomson Consumer

Thieny Breton               Chairman and CEO (1997-200r);           &                      97-2000);
                            Member, Board        of
                                                Directors Chairman (1997-2001)
                            (2002-200s)
Olivier Mallet              Senior Vice President, Finance                    2000)
                            (1 e96-2000)

Charles Dehelly             Senior Executive Vice President                       3)
                            (1998-2000); Senior Executive
                            Vice President and COO (2001);
                            cBo (2002-2004)
Julian Waldron              Sénior Executive Vice President,           (200t-2007)
                            CFO (2001-2007); Interim CEO
                            and Senior Executive Vice
                            President, CFO (2007-2008)
Frederic Rose               CEO (2008-present)                 Chairman (20 1 2-present)

Moreover, numerous other Thomson SA "Executive Officers" had operational responsibilities in

the United States: Jim Meyer was Senior Executive Vice President of SBUs Americas,

Multimedia Products and New Media Services; Al Arras was Executive Vice President of SBU

Audio and Communications; Michael O'Hara was Senior Vice President of SBU Americas; and

Enrique Rodriguez was Vice President of SBU Multimedia Products. All were stationed at

Thomson Consumer in Indianapolis, Indiana.

                      29.   Thomson SA and Thomson Consumer are collectively referred to herein as

"Thomson."
                      2,    Videocon



                                                      t2
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                    30.   Defendant Videocon Industries, Ltd. ("Videocon") is an Indian corporation

with its principal place of business located at Aurangabad Paithan Road 14, KM Stone,
Chitegaon, Aurangabad 431005, India. In 2005, Videocon acquired Thomson's CRT business for

€240 million, which included facilities and personnel in the United States, Poland, Italy, Mexico

and China. The deal for Videocon to acquire Thomson SA's CRT business was completed

through a special purpose vehicle, Eagle Electronics. At the same time that Videocon purchased

Thomson's CRT business, Thomson SA invested a total of €240 million in Videocon, comprising

a€225 million investment in Videocon Industries, Ltd. and a €15 million investment in Videocon

International, and acquired 13.l% of Videocon Industries, Ltd. The agreement with Videocon

provided that Thomson management would help Videocon run the CRT business during the

transition period and beyond. Videocon and Thomson also to set up Preferred Supplier

Agreements for Thomson's displays components businesses. Thomson SA maintained at least a

10olo ownership interest in Videocon throughout the Relevant Period. Thomson SA also received

one or more seats on Videocon's board of directors when it invested in Videocon. Videocon's

purchase of Thomson's CRT business included acquisition of Thomson Displays Americas LLC

(now known as Technologies Displays Americas, LLC) and its Mexican subsidiary, Thomson

Displays Mexicana, S.A. de C.V. (now known as Technologies Displays Mexicana, S.A. de

C.V.), including their facilities and personnel located in the United States, through Videocon's

wholly owned investment entity located in the Cayman Islands, Eagle Corporation Limited.
Videocon manufactured CRTs for the United States market in Thomson's former CRT plants in

Mexicali, Mexico and China. During the Relevant Period, Videocon manufactured, marketed,

sold and/or distributed CRT Products, either directly or indirectly through its subsidiaries or

affiliates, to customers throughout the United States.

                    3.    Techno        I)isnlavs

                    31.   Defendant Technologies Displays Americas LLC (formerly Thomson

 Displays Americas LLC) ("TDA") is a Delaware limited liability company with its principal

place of business located at 1778 Carr Road Ste 4B, Calexico, California 9223I. TDA is a wholly

                                                    13
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         owned subsidiary of Videocon. TDA acquired Thomson's U.S. CRT assets in 2005 after aperiod
2
         of cooperation and transition with Thomson entities subsequent to and in connection with the
J

         purchase and sale in 2005. TDA was originally formed with its governing members represented
4
         equally from both Thomson and Videocon. TDA is owned by Eagle Corp', Ltd. Eagle Cotp.,
5

         Ltd. became a wholly owned subsidiary of Videocon on December 31,2005, after Videocon
6

         acquired the balanc e 8lo/o equity stake in Eagle Corp., Ltd. Eagle Corp. acquired TDA in
7

         September 2005. In August 2005,Thomson Consumer made a capital contribution to TDA in the
8

         form of a transfer of assets and contract rights related to TDA's North American CRT business.
9
         TDA is the parent corporation of its co-conspirator, Technologies Displays Mexicana, S.A. de
l0
         C.V., a Mexican corporation which during the Relevant Period manufactured CRTs and sold the
ll
         CRTs to TDA for sale and distribution. During the Relevant Period, TDA manufactured'
t2
         marketed, sold and/or distributed CRT Products, either directly or indirectly through
                                                                                                          its
13

         subsidiaries or afflrliates, to customers throughout the United States. Defendants
                                                                                              Thomson and
14

         then Videocon dominated and/or controlled the finances, policies, and/or affairs of
                                                                                               TDA and its
l5
         subsidiary Technologies Displays Mexicana, S.A. de C'V', relating to the antitrust
                                                                                                 violations
    t6
         alleged in this Complaint. Two high-level Thomson managers - Thomson's
                                                                                      Managing Director
    17

         of NAFTA Sales, Jack K. Brunk ("Brunk"), and Thomson's General Manager' James P'
    18

         Hanrahan (,,Hanrahan") - transitioned to work for TDA after it acquired Thomson's
                                                                                                      CRT
    19

         business. In addition, TDA referred to itself as a "Thomson" business after Videocon's
20
          acquisition of Thomson's CRT business. TDA and Technologies Displays Mexicana,
                                                                                                   S.A. de
21

          C.V., are collectively referred to as "Technologies Displays"
    22
                             4. Mitsubishi Entities
    23
                             32, Defendant Mitsubishi Electric Corporation ("Mitsubishi Electric Japan")
    24
          is a Japanese corporation located at Building 2-7-3, Marunouchi, Chiyoda-ku, Tokyo 100-8310,
    25
          Japan, Mitsubishi Electric is a Fortune Global 500 Company that was ranked 214 ]n 20lI and
    26
          that had combined net sales of over $44 billion in20l2. It has various subsidiaries operating
                                                                                                           in
    27
          the United States, Mexico and Canada. Mitsubishi Electric Japan and its subsidiaries
    28

                                                           14
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     manufactured CRTs in factories located in Japan, Taiwan, Mexico and Canada for sale in the
2

     United States. These CRTs were sold internally to Mitsubishi's television and monitor
J

     manufacturing division and to other television and monitor manufacturers in the United States
4
     and elsewhere. Mitsubishi's television and monitor division also purchased CRTs from other
5

     CRT manufacturers. During the Relevant Period, Mitsubishi Electric Japan manufactured,
6

     marketed, sold and distributed CRT Products in the United States.
1
                          33.   Defendant Mitsubishi Electric & Electronics USA, Inc. ("Mitsubishi
8

     Electric USA") is a United States corporation located at 5665 Plaza Drive, Cypress, California
9
     90630. Mitsubishi Electric USA is a wholly-owned subsidiary of Mitsubishi Electric Japan.
l0
     Mitsubishi Electric USA manufactured CRTs for the United States market in plants located in
il
     Mexicali, Mexico and Ontario, Canada. Mitsubishi Electric USA sold its CRTs intemally to its
12

     television and monitor manufacturing division and to other television and monitor manufacturers
13

     in the United States and elsewhere. Mitsubishi's television and monitor division also purchased
t4
     CRTs from other CRT manufacturers. During the Relevant Period, Mitsubishi Electric USA
l5
     manufactured, marketed, sold and distributed CRT Products in the United States'
t6
                          34.   Defendant Mitsubishi Electric Visual Solutions America, Inc. (flUa
17

     Mitsubishi Digital Electronics America, Inc.) ("Mitsubishi Digital") is a United States
18

     corporation located at 9351 Jeronimo Road, Irvine, California 92618. Mitsubishi Digital is a
19

     wholly-owned subsidiary of Mitsubishi Electric Japan. During the Relevant Period, Mitsubishi
20
     Digital manufactured, marketed, sold and distributed CRT Products in the United States.
21

                          35.   Mitsubishi Electric Japan, Mitsubishi Electric USA and Mitsubishi Digital
22
     are collectively referred to herein as "Mitsubishi."
23
              C.          Co-Conspirators
24
                          36.   Various persons and firms not named as Defendants in this Complaint
25
     participated as co-conspirators in the violations alleged herein and performed acts and made
26
     statements in furtherance of the conspiracy to f,rx, raise, stabilize and maintain prices for CRTs.
27
     Many of these co-conspirators are named as defendants in the related case pending in this Court
28

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         styled Siegel v, Hitachi,Individual Case No. 11-cv-05502 (Master File No' 3:07-cv-05944-SC,
2

         MDL No. 1917). Specific information regarding the identity of these co-conspirators and their
3

         participation in the CRT price-fixing conspiracy is set forth in the First Amended Complaint in
4
         Siegel v. Hitachi (Doc. No, 2016 in Master File No. 3:07-cv-05944-5C).
5

                             37.   Co-conspirator Hitachi, Ltd. is a Japanese company with its principal place
6

,7
         of business at 6-6, Marunouchi 1-chome, Chiyoda-ku, Tokyo, 100-8280, Japan' Hitachi, Ltd. is

         the parent company for the Hitachi brand of CRT Products. In 1996, Hitachi, Ltd''s worldwide
8

         market share for color CRTs was 20 percent. During the Relevant Period, Hitachi, Ltd.
9

         manufactured, marketed, sold andlor distributed CRT Products, either directly or through its
10

         subsidiaries or affiliates, throughout the United States'
11

                             38.   Co-conspirator Hitachi Displays, Ltd. ("Hitachi Displays") is a Japanese
 t2
         company with its principal place of business located at 3300 Hayano, Mobara-shi, Chiba-ken,
 l3
                                                                                                            Ltd.
         297-g622, Japan. Hitachi Displays was originally established as Mobara Works of Hitachi,
 14

         in Mobara City, Japan, in 1943. In2002, all the departments of planning, development, design,
 15

         manufacturing and sales concerned with the display business of Hitachi, Ltd. were spun off
                                                                                                              to
 16
                                                                                                        Displays
         create a separate company called Hitachi Displays. During the Relevant Period, Hitachi
 t7
         manufactured, marketed, sold and/or distributed CRT Products, either directly or through
                                                                                                              its
 18

         subsidiaries or affiliates, throughout the United States. Co-conspirator Hitachi, Ltd' dominated
    19

         and controlled the finances, policies and affairs of Hitachi Displays relating to the antitrust
 20
         violations alleged in this complaint.
 21
                             39.   Co-conspirator Hitachi America, Ltd. ("Hitachi America") is a New York
 22
         company with its principal place of business located at 50 Prospect Avenue, Tarrytown, New
 23
          york 10591. Hitachi America is a wholly-owned and controlled subsidiary of Defendant Hitachi,
 24
          Ltd. During the Relevant Period, Hitachi America manufactured, marketed, sold and/or
    25
          distributed CRT products, either directly or through its subsidiaries or affiliates, throughout the
    26
          United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances, policies and
    27
          affairs of Hitachi America relating to the antitrust violations alleged in this complaint.
    28

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I
                             40.   Co-conspirator Hitachi Asia, Ltd. ("Hitachi Asia") is a Singaporean
2
         company with its principal place of business located at 7 Tampines Grande, #08-01 Hitachi
J

         Square, Singapore 528736. Hitachi Asia is a wholly-owned and controlled subsidiary of
4
         Defendant Hitachi, Ltd. During the Relevant Period, Hitachi Asia manufactured, marketed, sold
5

         and/or distributed CRT Products, either directly or through its subsidiaries or affrliates,
6

         throughout the United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances,
7
         policies and affairs of Hitachi Asia relating to the antitrust violations alleged in this complaint.
8

                             41. Co-conspirator Hitachi Electronic Devices (USA), Inc. ("HEDUS") is a
9

         Delaware corporation with its principal place of business located at 1000 Hurricane Shoals Road
10

         Suite D-100, Lawrenceville, GA 30043. HEDUS is a subsidiary of Defendant Hitachi, Ltd and
11

         Hitachi Displays. During the Relevant Period, HEDUS manufactured, marketed, sold andlor
12

         distributed CRT products, either directly or through its subsidiaries or afhliates, throughout the
13

         United States. Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and controlled the
14

         frnances, policies and affairs of HEDUS relating to the antitrust violations alleged in this
l5
         complaint.
16


    17                       42. Co-conspirator Shenzhen SEG Hitachi Color Display Devices, Ltd.
    l8   (,,Hitachi Shenzhen") was a Chinese company with its principal place of business located at

    19   5001 HuanggaîgRoad, Futian District, Shenzhen 518035, China. Hitachi Displays, Ltd. owned

20       at least a25o/o interesting in Hitachi Shenzhen until November 8, 2007 (which was coincidentally

2l       around the time that the government investigations into the CRT industry began). Thus, Hitachi

22       Shenzhen was a member of the Hitachi corporate group for all but the last two weeks of the

23       Relevant Period. During the Relevant Period, Hitachi Shenzhen manufactured, marketed, sold

    24    andlor distributed CRT Products, either directly or through its subsidiaries or afftliates,

    25   throughout the United States. Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and

    26   controlled the finances, policies and affairs of Hitachi Shenzhen relating to the antitrust violations

    27   alleged in this complaint.

    28                       43. Co-conspirators Hitachi Ltd., Hitachi Displays, Hitachi America, Hitachi
                                                             t7
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     Asia, HEDUS and Hitachi Shenzhen are collectively referred to herein as "Hitachi."
2
                        44. Co-conspirator IRICO Group Corporation ("IGC") is a Chinese company
3

     with its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province
4
     71202L IGC is the parent company for multiple subsidiaries engaged in the manufacture,
5

     marketing, distribution and sale of CRT Products. During the Relevant Period, IGC
6
     manufactured, marketed, sold andlor distributed CRT Products, either directly or through its
7

     subsidiaries or affiliates, throughout the United States.
8

                        45. Co-conspirator IRICO Group Electronics Co., Ltd. ("IGE") is a Chinese
9
     company with its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi
10
     province 7I2O2L IGE is owned by Defendant IGC. According to its website, IGE was the first
l1
     CRT manufacturer in China and one of the leading global manufacturers of CRTs. Its website
12

     also claims that in 2003 it was the largest CRT manufacturer in China in terms of production and
13

     sales volume, sales revenue and aggregated profit, and taxation. During the Relevant Period, IGE
t4
     manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
l5
     subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and
16

     controlled the finances, policies and affairs of IGE relating to the antitrust violations alleged in
17

     this complaint.
l8
                        46.   Co-conspirator IRICO Display Devices Co., Ltd. ("IDDC") is a Chinese
19

     company with its principal place of business located at No. 16, Fenghui South Road West,
20
     District High-tech DevelopmentZone,Xi'an, SXI 710075. IDDC is a partially-owned subsidiary
21

     of co-conspirator IGC. In 2006,IDDC was China's top CRT maker. During the Relevant Period,
22
     IDDC manufactured, marketed, distributed and/or sold CRT Products, either directly or through

     its subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and
24
     controlled the finances, policies and affairs of IDDC relating to the antitrust violations alleged in
25
     this complaint.
26
                        47.   Co-conspirators IGC, IGE and IDDC are collectively referred to herein as
21
     ..IRICO.''
28

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                    48.   Co-conspirator LG Electronics, Inc. ("LGEI") is a corporation organized

under the laws of the Republic of Korea with its principal place of business located at LG Twin

Towers, 20 Yeouido-dong, Yeongdeungpo-gu, Seoul 150-721, South Korea. LGEI is a $48.5

billion global force in consumer electronics, home appliances and mobile communications, which

established its first overseas branch office in New York in 1968. The company's name was

changed from Gold Star Communications to LGEI in 1995, the year in which it also acquired

Zenith in the United States. In 2001, LGEI transferred its CRT business to a 50/50 joint venture

with co-conspirator Koninklijke Philips Electronics N.V. called LG.Philips Displays ("LGPD").

On April 1,200J, LGPD became an independent company and changed its name to LP Displays

International Ltd, During the Relevant Period, LGEI manufactured, marketed, sold andlor

distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the

United States,

                    49, Co-conspirator LG Electronics USA, Inc. ("LGEUSA") is a Delaware
corporation with its principal place of business located at 1000 Sylvan Ave., Englewood Cliffs,

New Jersey 07632. LGEUSA is a wholly-owned and controlled subsidiary of co-conspirator

LGEL During the Relevant Period, LGEUSA manufactured, marketed, sold andlot distributed
CRT Products, either directly or through its subsidiaries or affiliates, throughout the United

States. Co-conspirator LGEI dominated and controlled the finances, policies and affairs of
LGEUSA relating to the antitrust violations alleged in this complaint.

                    50.   Co-conspirator LG Electronics Taiwan Taipei Co., Ltd. ("LGETT") is a

Taiwanese entity with its principal place of business located at7F, No.47, Lane3, Jihu Road,

NeiHu District, Taipei City, Taiwan, LGETT is a wholly-owned and controlled subsidiary of co-

conspirator LGEI. During the Relevant Period, LGETT manufactured, marketed, sold andlor

distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the

United States. Co-conspirator LGEI dominated and controlled the finances, policies and affairs of

LGETT relating to the antitrust violations alleged in this complaint.

                    51.   Co-conspirators LGEI, LGEUSA and LGETT are collectively referred to

                                                  19
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         herein as "LG Electronics."
2
                              52. Co-conspirator LP Displays International Ltd. f/k/a LGPD ("LP Displays")
3

         is a Hong Kong company located at Corporate Communications, 6th Floor, ING Tower, 308 Des
4
         Voeux Road Central, Sheung Wan, Hong Kong. LP Displays is the successor entity to LGPD,
5

         which was created in 2001 as a 50/50 joint venture between co-conspirators LGEI and Royal
6
         philips. In March 2007,Lp Displays became an independent company. LP Displays is a leading
7

         supplier of CRTs for use in television sets and computer monitors with annual sales for 2006 of
8

         over $2 billion and a market share of 27o/o. LP Displays announced in March 2007 that Royal
9
         philips and LGEI would cede control over the company and the shares would be owned by
l0
         financial institutions and private equity firms. During the Relevant Period, LP Displays
ll
         manufactured, marketed, sold and/or distributed CRT Products, either directly or through
                                                                                                         its
t2
         subsidiaries or affiliates, throughout the United States.
13

                              53.    Co-conspirator Panasonic Corporation, which was at all times during the
14

         Relevant period known as Matsushita Electric Industrial Co, Ltd. and only became
                                                                                                  Panasonic
15
                                                                                                Kadoma-shi,
         Corporation on October 1, 2008, is a Japanese entity located at 1006 OazaKadoma,
16

         osaka 571-g501, Japan. During the Relevant Period, Panasonic corporation manufactured,
    17

         marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries
                                                                                                          or
    l8
         affiliates, throughout the United States.
    l9
                              54. Co-conspirator Panasonic Corporation of North America ("PCNA") is a
20
         Delaware corporation with its principal place of business located at One Panasonic Way,
21

         Secaucus, New Jersey 07094. PCNA is a wholly-owned and controlled subsidiary
                                                                                                      of co-
    22
                                                                                                   marketed,
         conspirator panasonic Corporation. During the Relevant Period, PCNA manufactured,
    23

          sold and/or distributed CRT products, either directly or through its subsidiaries or affiliates,
    24
         throughout the United States. Co-conspirator Panasonic Corporation dominated and controlled
    25
         the f,rnances, policies and affairs of PCNA relating to the antitrust violations alleged in this
    26
          complaint.
    27
                              55.    Co-conspirator Matsushita Electronic Corporation (Malaysia) Sdn. Bhd.
    28

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     ("Matsushita Malaysia") was a Malaysian company with its principal place of business located
2
     atLot 1, Persiaran Tengku Ampuan Section 21, Shah Alam Industrial Site, Shah Alam Malaysia
J

     40000. Matsushita Malaysia was a wholly-owned and controlled subsidiary of co-conspirator
4
     Panasonic Corporation. Panasonic Corporation transferred Matsushita Malaysia to MT Picture
5

     Display Co., Ltd. ("MTPD"), its CRT joint venture with Toshiba Corporation, in 2003. It was re-
6

     named MT Picture Display (Malaysia) Sdn. Bhd. and operated as a wholly-owned subsidiary of
7
     MTPD until its closure in2006. During the Relevant Period, Matsushita Malaysia manufactured,
8

     marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
9
     affiliates, throughout the United States. Co-conspirator Panasonic Corporation dominated and
l0
     controlled the finances, policies and affairs of Matsushita Malaysia relating to the antitrust
11

     violations alleged in this complaint.
12

                        56. Co-conspirators Panasonic Corporation, PCNA, and Matushita Malaysia
13

     are collectively referred to herein as "Panasonic,"
t4
                        57. Co-conspirator MT Picture Display Co., Ltd., f/k/a Matsushita Toshiba
15

     Picture Display Co., Ltd. ("MTPD") is a Japanese entity located at 1-15 Matsuo-cho, Kadoma-
16

     shi, Osaka, 571-8504, Japan. In2002, Panasonic Corporation entered into a joint venture with co-
17

     conspirator Toshiba Corporation called Matsushita Toshiba Picture Display Co., Ltd. to
l8
     manufacture CRTs. Panasonic Corporation was the majority owner with 64.5 percent. On March
19

     30,2007, Panasonic Corporation purchased the remaining 35.5 percent stake in the joint venture,
20
     making Matsushita Picture Display Co., Ltd. a wholly-owned subsidiary of Panasonic
2t
     Corporation, and renaming it MT Picture Display Co., Ltd. During the Relevant Period, MTPD
22
     manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
23
     subsidiaries or aff,rliates, throughout the United States.
24
                        58.   Co-conspirator Beijing Matsushita Color CRT Co., Ltd. ("BMCC") is a
25
     Chinese company with its principal place of business located at No. 9 Jiuxianqiao N. Rd.,
26
     Dashanzi Chaoyang District, Beijing, China, BMCC is a joint venture company, 50% of which is
27
     held by co-conspirator MTPD. The other 50% is held by Beijing Orient Electronics (Group) Co',
28

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         Ltd., China National Electronics Import & Export Beijing Company (a China state-owned
2

         enterprise), and Beijing Yayunchun Brach of the Industrial and Commercial Bank of China (a
3

         China state-owned enterprise). Formed in 1987, BMCC was Panasonic Corporation's first CRT
4
         manufacturing facility in China. BMCC is the second largest producer of CRTs for televisions in
5

         China. During the Relevant Period, BMCC manufactured, marketed, sold and/or distributed CRT
6
         products, either directly or through its subsidiaries or affiliates, throughout the United States.
7
                             59.   Co-conspirator Koninklijke Philips Electronics N.V. a/k/a Royal Philips
8

         Electronics (,,Royal philips") is a Dutch company with its principal place of business located at
9

         Amstelplei n2, 1070 MX Amsterdam, The Netherlands. Royal Philips, founded in 1891, is one of
l0
         the world,s largest electronics companies, with 160,900 employees located in over 60 countries.
ll
         Royal philips had sole ownership of its CRT business until 2001. In 2001, Royal Philips
l2
         transferred its CRT business to a 50/50 joint venture with co-conspirator LGEI,
                                                                                                    forming co-
l3
         conspirator LGPD (nlkla LP Displays), In December 2005, as a result of increased
                                                                                                    pressure on
14

         demand and prices for CRT products, Royal Philips wrote off the remaining book value
                                                                                                          of 126
t5
         million Euros of its investment and said it would not inject further capital into the venture.
16

         During the Relevant period, Royal Philips manufactured, marketed, sold and/or distributed CRT
    17
         products, either directly or through its subsidiaries or affrliates, throughout the United States.
    18
                             60.   Co-conspirator Philips Electronics North America Corporation ("Philips
    19

         America,,) is a Delaware corporation with its principal place of business located at 1251 Avenue
20
         of the Americas, New york, New York 10020-1104, Philips America is a wholly-owned and
2l
         controlled subsidiary of co-conspirator Royal Philips. During the Relevant Period, Philips
    22
         America manufactured, marketed, sold and/or distributed CRT Products, either directly or
    23
         through its subsidiaries or affiliates, throughout the United States. Co-conspirator Royal Philips
    24
         dominated and controlled the finances, policies and affairs of Philips America relating to the
    25
         antitrust violations alleged in this complaint.
    26
                             6l.   Co-conspirator Philips Electronics Industries (Taiwan), Ltd. ("Philips
    27
         Taiwan',) is a Taiwanese company with its principal place of business located at 15F 3-1 Yuanqu
    28

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1


         Street, Nangang District, Taipei, Taiwan. Philips Taiwan is a subsidiary of co-conspirator Royal
2
         Philips. During the Relevant Period, Philips Taiwan manufactured, marketed, sold and/or
J

         distributed CRT products, either directly or through its subsidiaries or aff,rliates, throughout the
4
         United States. Co-conspirator Royal Philips dominated and controlled the ftnances, policies and
5

         affairs of Philips Taiwan relating to the antitrust violations alleged in this complaint.
6
                             62.   Co-conspirator Philips da Amazonia Industria Electronica Ltda. ("Philips
7

         Brazil") is a Brazilian company with its principal place of business located at Av Torquato
8

         Tapajos 2236, 1 andar (parte 1), Flores, Manaus, AM 39048-660,Btazil Philips Brazil is a
9
         wholly-owned and controlled subsidiary of co-conspirator Royal Philips. During the Relevant
10
         period, philips Brazil manufactured, marketed, sold and/or distributed CRT Products, either
l1
         directly or through its subsidiaries or affiliates, throughout the United States. Co-conspirator
12

         Royal philips dominated and controlled the f,rnances, policies and affairs of Philips Btazil relating
13

         to the antitrust violations alleged in this complaint.
14
                             63. Co-conspirators Royal Philips, Philips America, Philips Taiwan and Philips
    15

         Brazil are collectively referred to herein as "Philips."
    16
                             64. Co-conspirator Samsung SDI Co., Ltd. f/k/a Samsung Display Device
    t7
         Company (,,Samsung SDI") is a South Korean company with its principal place of business
    18

         located at 575 Shin-dong, Youngtong-gu, Suwon, South Korea. Samsung SDI is a public
    19

         company. Samsung Electronics Corporation ("SEC") is a major shareholder of Samsung SDI,
20
         holding almost 20 percent of the stock. Founded in 1970, Samsung SDI claims to be the world's
    21

         leading company in the display and energy business, with 28,000 employees and facilities in 18
    22
         countries. In2002, Samsung SDI held a34.3o/o worldwide market share in the market for CRTs;
    z)
         more than any other producer. Samsung SDI has ofhces in Chicago and San Diego. During the
    24
         Relevant period, Samsung SDI manufactured, marketed, sold and/or distributed CRT Products,
    25
          either directly or through its subsidiaries or affrliates, throughout the United States. SEC
    26
          dominated and controlled the finances, policies and affairs of Samsung SDI relating to the
    27
          antitrust violations alleged in this complaint'
    28

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                    65. Co-conspirator Samsung SDI America, Inc. ("Samsung SDI America") is
a California corporation with its principal place of business located at 3333 Michelson Drive,
Suite 700, Irvine, California 92612. Samsung SDI America is a wholly-owned and controlled

subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI America

manufactured, marketed, sold and/or distributed CRT Products, either directly or through its

subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI

dominated and controlled the finances, policies and affairs of Samsung SDI America relating to

the antitrust violations alleged in this complaint.

                    66. Co-conspirator Samsung SDI Mexico S.A. de C.V. ("Samsung SDI
Mexico") is a Mexican company with its principal place of business located at Blvd, Los Olivos,

No. 21014, Parque Industrial El Florido, Tijuana, B,C. Mexico. Samsung SDI Mexico is a
wholly-owned and controlled subsidiary of co-conspirator Samsung SDI. During the Relevant
period, Samsung SDI Mexico manufactured, marketed, sold and/or distributed CRT Products,
                                                                                                and co-
either directly or through its subsidiaries or aff,rliates, throughout the United States. SEC

conspirator Samsung SDI dominated and controlled the finances, policies and affairs of Samsung

SDI Mexico relating to the antitrust violations alleged in this complaint'

                    67.   Co-conspirator Samsung SDI Brasil Ltda. ("Samsung SDI Brazil") is a

 Brazilian company with its principal place of business located at Av. Eixo Norte Sul, S/l'{,

Distrito Industrial, 69088-480 Manaus, Amazonas, Brazil. Samsung SDI Brazil is a wholly-

owned and controlled subsidiary of co-conspirator Samsung SDI. During the Relevant Period,

 Samsung SDI Brazil manufactured, marketed, sold and/or distributed CRT Products, either

 directly or through its subsidiaries or affiliates, throughout the United States. SEC and co-

 conspirator Samsung SDI dominated and controlled the finances, policies and affairs of Samsung

 SDI Brazil relating to the antitrust violations alleged in this complaint.

                    68,   Co-conspirator Shenzhen Samsung SDI Co., Ltd. ("Samsung SDI

 Shenzhen") is a Chinese company with its principal place of business located at Huanggang Bei

 Lu, Futian Gu, Shenzhen, China. Samsung SDI Shenzhen is a wholly-owned and controlled

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1


     subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI Shenzhen
2
     manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
3

     subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
4
     dominated and controlled the frnances, policies and affairs of Samsung SDI Shenzhen relating to
5

     the antitrust violations alleged in this complaint.
6
                         69. Co-conspirator Tianjin Samsung SDI Co., Ltd. ("Samsung SDI Tianjin")
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     is a Chinese company with its principal place of business located at DevelopingZone of Yi-Xian
8

     Park, Wuqing County, Tianjin, China. Samsung SDI Tianjin is a wholly-owned and controlled
9
     subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI Tianjin
10

     manufactured, marketed, sold andlor distributed CRT Products, either directly or through its
1l
     subsidiaries or aff,rliates, throughout the United States. SEC and co-conspirator Samsung SDI
12

     dominated and controlled the finances, policies and affairs of Samsung SDI Tianjin relating to the
l3
     antitrust violations alleged in this complaint.
14

                         10.   Co-conspirator Samsung SDI (Malaysia) Sdn. Bhd. ("Samsung SDI
l5
     Malaysia") is a Malaysian corporation with its principal place of business located at Lots 635 &,
16

     660, Kawasan Perindustrian, Tuanku Jafaar, 71450 Sungai Gadut, Negeri Sembilan Darul
17

     Khusus, Malaysia. Samsung SDI Malaysia is a wholly-owned and controlled subsidiary of co-
l8
     conspirator Samsung SDI. During the Relevant Period, Samsung SDI Malaysia manufactured,
l9
     marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
20
     affiliates, throughout the United States. SEC and co-conspirator Samsung SDI dominated and
2l
     controlled the finances, policies and affairs of Samsung SDI Malaysia relating to the antitrust
22
     violations alleged in this complaint.
23
                         71.   Co-conspirators Samsung SDI, Samsung SDI America, Samsung SDI
24
      Mexico, Samsung SDI Brazil, Samsung SDI Shenzhen, Samsung SDI Tianjin and Samsung SDI
25
      Malaysia are collectively referred to herein as "Samsung SDI."
26
                         72.   Co-conspirator Samtel Color Ltd. ("Samtel") is an Indian company with its
27
      principal place of business located at 52, Community Centre, New Friends Colony, New Delhi-
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1


         110065. Samtel's market share for CRTs sold in India is approximately 40Yo, and it is that
2
         country,s largest exporter of CRT Products. Samtel has gained safety approvals from the United
J
                                                                                                    Period,
         States, Canada, Germany, and Great Britain for its CRT Products. During the Relevant
4
         Samtel manufactured, marketed, sold and/or distributed CRT Products, either directly or through
5

         its subsidiaries and affiliates, throughout the United States.
6
                              73.   Co-conspirator Thai cRT co., Ltd. ("Thai cRT") is a Thai company
7

         located at llF 26 Siam Cement Rd., Bangsue Dusit, Bangkok, Thailand. Thai CRT is a subsidiary
8

         of Siam Cement Group, and it was established in 1986 as Thailand's first manufacturer of CRTs
9

         for color televisions. During the Relevant Period, Thai CRT manufactured, marketed, sold and/or
10

         distributed CRT products, either directly or through its subsidiaries or affiliates, throughout
                                                                                                           the
11

         United States.
12
                              74.   Co-conspirator Toshiba Corporation ("TC") is a Japanese company with its
13

         principal place of business located at 1-1, Shibaura 1-chome, Minato-ku, Tokyo 105-8001' Japan'
    14

         In 2001, TC held a 5 to 10 percent worldwide market share for CRTs used in televisions and in
    15

          computer monitors. In December 1995, TC partnered with orion Electronic Co' and
                                                                                                  two other
    16

          non-Defendant entities to form P.T. Tosummit Electronic Devices Indonesia
                                                                                               ("TEDI") in
    17

          Indonesia. TEDI was projected to have an arurual production capacity of 2.3 million CRTs by
    t8
          Iggg, In 2002, TC entered into MTPD, a joint venture with co-conspirator Panasonic
    t9
          Corporation, in which the entities consolidated their CRT businesses. During the Relevant
    20
          period, TC manufactured, marketed, sold and/or distributed CRT Products, either directly or
    21

          through its subsidiaries or aff,iliates, throughout the United States.
    22
                              75.   Co-conspirator Toshiba America, Inc. ("Toshiba America") is a Delaware
    23
          corporation with its principal place of business located at 1251 Avenue of the Americas, Suite
    24
          4110, New york, New York 10020. Toshiba America is a wholly-owned and controlled
    25
          subsidiary of co-conspirator TC. During the Relevant Period, Toshiba America manufactured,
    26
          marketed, sold andlor distributed CRT Products, either directly or through its subsidiaries or
    )1
          affiliates, throughout the United States. Co-conspirator TC dominated and controlled the
    28

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         finances, policies and affairs of Toshiba America relating to the antitrust violations alleged in this
2
         complaint.
J

                             76.   Co-conspirator Toshiba America Consumer Products, LLC ("TACP") is a
4
         limited liability company that is headquartered at 82 Totowa Rd., Wayne, New Jersey 07470-
5

         3114. TACP is a wholly-owned and controlled subsidiary of co-conspirator TC through Toshiba
6

         America. During the Relevant Period, TACP manufactured, marketed, sold and/or distributed
7
         CRT products, either directly or through its subsidiaries or affiliates, throughout the United
8

         States. Co-conspirator TC dominated and controlled the finances, policies and affairs of TACP
9
         relating to the antitrust violations alleged in this complaint.
l0
                             j7.   Co-conspirator Toshiba America Electronic Components, Inc' ("TAEC") is
l1
         a California corporation with its principal place of business located at 19900 MacArlhur
t2
         Boulevard, Suite 400, Irvine, California 92612. TAEC is a wholly-owned and controlled
13

         subsidiary of co-conspirator TC through Toshiba America. During the Relevant Period, TAEC
14

         manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
15

         subsidiaries or afhliates, throughout the United States. Co-conspirator TC dominated and
16

         controlled the finances, policies and affairs of TAEC relating to the antitrust violations alleged
                                                                                                              in
t7
         this complaint.
l8
                             7g.   Co-conspirator Toshiba America Information Systems, Inc. ("TAIS") is a
    19

         California corporation with its principal place of business located at 9740 Irvine Blvd., Irvine,
20
         Califomia 926lg-1697. TAIS is a wholly-owned and controlled subsidiary of co-conspirator TC
21

         through Toshiba America. During the Relevant Period, TAIS manufactured, marketed, sold
22
          andlor distributed CRT Products, either directly or through its subsidiaries or affiliates,
23
         throughout the United States. Co-conspirator TC dominated and controlled the finances, policies
24
          and affairs of TAIS relating to the antitrust violations alleged in this complaint.
    25
                             79.   Co-conspirator P.T. Tosummit Electronic Devices Indonesia ("TEDI") was
    26
          a CRT joint venture formed by TC, Orion Electronic Co., and two other entities in December
    27
          1995. TEDI's principal place of business was located in Indonesia. TEDI was projected to have
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         an annual production capacity of 2.3 million CRTs by 1999. In2003, TEDI was transferred to
2

         co-conspirator MTPD, TC's joint venture with Panasonic Corporation, and its name was changed
J

         to PT.MT Picture Display Indonesia. During the Relevant Period, TEDI manufactured, marketed,
4
         sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
5

         throughout the United States. Co-conspirator TC dominated and controlled the ftnances, policies,
6

         and affairs of TEDI relating to the antitrust violations alleged in this complaint.
7
                           80.       Co-conspirator Toshiba Display Devices (Thailand) Co., Ltd. ("TDDT")
8

         was a Thai company with its principal place of business located at 142 Moo 5 Bangkok Industrial
9
         Estate, Tivanon Road, Pathum Thani, Thailand 12000. TDDT was a wholly-owned and
10

         controlled subsidiary of co-conspirator TC. In 2003, TDDT was transferred to co-conspirator
11

         MTpD, TC's joint venture with Panasonic Corporation. It was re-named MT Picture Display
t2
         (Thailand) Co., Ltd. and operated as a wholly-owned and controlled subsidiary of MTPD until its
l3
         closure in 2007. During the Relevant Period, TDDT manufactured, marketed, sold andlot
t4
         distributed CRT products, either directly or through its subsidiaries or aff,rliates, throughout
                                                                                                            the
15

         United States. Co-conspirator TC dominated and controlled the finances, policies and affairs
                                                                                                             of
t6
         TDDT relating to the antitrust violations alleged in this complaint.
17
                               81.   Co-conspirators TC, Toshiba America, TACP, TAEC, TAIS, TEDI, and
    18

         TDDT are collectively referred to herein as "Toshiba."
    19
                               82.   Co-conspirator Orion Electronic Co. ("Orion") was a Korean corporation.
20
         It filed for bankruptcy in 2004. Orion was a major manufacturer of CRT Products. In 1995,
21

          approximately 85% of Orion's $1 billion in sales was attributed to CRT Products' Orion was
22
          involved in CRT products sales and manufacturing joint ventures and had subsidiaries all over the
23
          world, including South Africa, France, Indonesia, Mexico, and the United States. Plaintiff is
    24
          informed and believes that Orion was wholly owned by the "Daewoo Group." The Daewoo
    25
          Group included Daewoo Electronics Co., Ltd. ("Daewoo Electronics"), Daewoo Telecom Co.,
    26
          Daewoo Corporation, and Orion Electronic Components Co. The Daewoo Group was dismantled
    27
          in or aroun d 1999. Daewoo Electronics and Orion were 50/50 joint venture partners in an entity
    28

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called Daewoo-Orion Societe Anonyme ("DOSA") in France. As of approximately 1996, DOSA

produced 1.2 million CRTs annually. Daewoo sold DOSA's CRT business in or around2004.

During the Relevant Period, Orion, Daewoo Electronics, and DOSA manufactured, marketed,

sold and/or distributed CRTs andlor CRT Products, either directly or through their subsidiaries of

affiliates, throughout the United States.

                   83.   Co-conspirators Orion, Daewoo Electronics, and DOSA are collectively

referred to herein as "Daewoo."

                   84.   Co-conspirator Chunghwa Picture Tubes, Ltd, ("CPT") is a Taiwanese

company with its principal place of business at No. 1127, Heping Rd., Bade City, Taoyuan,

Taiwan. It was established in I97I by Tatung Corporation to manufacture CRTs , In 7974, CPT's

CRTs received certification by the United States, giving the company entry into that market.

Throughout the Relevant Period, CPT was one of the major global CRT manufacturers. During

the Relevant Period, CPT manufactured, marketed, sold and/or distributed CRT Products, either

directly or through its subsidiaries or affiliates (such as its Fuzhou subsidiary), throughout the

United States.

                   85.   Co-conspirator Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.

("Chunghwa Malaysia") is a Malaysian company with its principal place of business at Lot I,

Subang Hi-Tech Industrial Park, Batu Tiga, 4000 Shah Alam, Selangor Darul Ehsan, Malaysia. It

is a wholly-owned subsidiary of CPT. Chunghwa Malaysia is focused on CRT production, and it

has established itself as one of the leading worldwide suppliers of CRTs. During the Relevant

Period, Chunghwa Malaysia manufactured, marketed, sold and/or distributed CRT Products,

either directly or through its subsidiaries or affiliates, throughout the United States. Co-
conspirator CPT dominated and controlled the f,rnances, policies and affairs of Chunghwa

Malaysia relating to the antitrust violations alleged in this complaint.

                   86.   Co-conspirators CPT and Chunghwa Malaysia are collectively referred to

herein as "Chunghwa."




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                   87.   Co-conspirator Tatung Company of America, Inc. ("Tatung America") is

a California corporation with its principal place of business located aI" 2850 El Presido Street,
Long Beach, California. Tatung America is a subsidiary of Tatung Company. Currently, Tatung

Company owns approximately one-half of Tatung America. The other half used to be owned by

Lun Kuan Lin, the daughter of Tatung Company's former Chairman T.S. Lin. Following Lun

Kuan Lin's death, her share passed to her two children. During the Relevant Period, Tatung

America manufactured, marketed, sold and/or distributed CRT Products manufactured by, among

others, CPT, either directly or through its subsidiaries or affiliates, throughout the United States.

                   88.   Co-conspirator Technologies Displays Mexicana, S,A. de C.V.

("Technologies Displays Mexicana"), formerly known as Thomson Displays Mexicana, is a

Mexican corporation with its principal place of business located at Calz. Robledo Industrial

Colorad, Mexicali, 8.C.21384, Mexico. Technologies Displays Mexicana is a wholly owned

subsidiary of defendant TDA, which is itself a wholly owned subsidiary of defendant Videocon'

During the Relevant Period, Technologies Displays Mexicana manufactured, marketed, sold

andlor distributed CRT Products, either directly or indirectly through subsidiaries or affiliates, to

customers throughout the United States. Defendants Thomson SA and later Videocon and TDA

dominated and/or controlled the f,rnances, policies and/or affairs of Technologies Displays

Mexicana relating to the antitrust violations alleged in this Complaint.

                   89.   Co-conspirator TCL Thomson Electronics Corporation ("TCL Thomson")

is a joint venture formed between Thomson SA and TCL International Holdings Ltd. ("TCL").

TCL Thomson is headquartered at the TCL Building, South Nanhai Road, Nanshan District,
Shenzhen, Guangdong, China. During the Relevant Period, TCL Thomson manufactured,

marketed, sold and/or distributed CRT Products, either directly or indirectly through subsidiaries

or affiliates, to customers throughout the United States. One of the direct or indirect subsidiaries

of TCL Thomson or TCL that manufactured, marketed, sold and/or distributed CRT Products in

the United States was TTE Technology, Inc. ("TTE"). Defendant Thomson SA dominated and/or




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         controlled the f,rnances, policies and/or affairs of TCL Thomson and TTE relating to the antitrust
2
         violations alleged in this Complaint.
J

                             90.   Co-conspirator NEC-Mitsubishi Electric Visual Systems Corporation
4
         ("NEc-Mitsubishi") was a joint venture of NEC Corporation and defendant Mitsubishi Electric
5

         Japan. During the Relevant Period, NEC-Mitsubishi was based in Tokyo, Japan' During the
6

         Relevant Period, NEC-Mitsubishi manufactured, marketed, sold and/or distributed CRT Products,
7

         directly or indirectly through subsidiaries or affrliates, including NEC-Mitsubishi Electronics
8

         Display and NEC-Mitsubishi Electronics Display of America, Inc,, to customers throughout the
9

         United States. During the Relevant Period, Defendant Mitsubishi Electric Japan dominated
10

         and/or controlled the finances, policies and/or affairs of NEC-Mitsubishi relating to the antitrust
11

         violations alleged in this Complaint.
l2
         IV.     AGENTS
13


t4                           91.   The acts alleged against Defendants in this Complaint were authoñzed,

l5       ordered, or done by their officers, agents, employees, or representatives, while actively engaged in

16       the management and operation of Defendants'businesses or affairs.

17                           92.   Each Defendant or co-conspirator acted as the principal, agent, or joint

18       venturer of, or for, other Defendants and co-conspirators with respect to the acts, violations, and

t9       common course of conduct alleged by Plaintiff. Each Defendant and co-conspirator that is a

20       subsidiary of a foreign parent acts as the United States agent for CRTs and/or CRT Products

21       made by its parent company.

22                           93.   The acts charged in this Complaint have been done by Defendants and their

23       co-conspirators, or were authorized, ordered or done by their respective officers, agents,

24        employees or representatives while actively engaged in the management of each Defendant's or

25        co-conspirator' s business or affairs.

26        V.      TRADE AND COMMERCE

27                           94.   During the Relevant Period, each Defendant, or one or mole of its
    28    subsidiaries, sold CRT products in the United States in a continuous and uninterrupted flow of
                                                           31
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interstate commerce and foreign commerce, including through and into this judicial district.

                   95.     During the Relevant Period, Defendants and their co-conspirators
collectively controlled a vast majority of the market for CRT Products, both globally and in the

United States.

                   96.     The business activities of Defendants substantially affected interstate trade

and commerce in the United States, caused antitrust injury in the United States, and restrained

competition. The business activities of Defendants also substantially affected trade and
commerce in California and Illinois and caused antitrust injuries and restrained competition in

California and Illinois.

VI.     FACTUAL ALLEGATIONS
         A.        CRT TechnoloeY

                   97.     A CRT has three components: (a) one or more electron guns, each of which

is a series of metallic structures used to generate a beam of electrons; (b) a magnetic or other

deflection system used to aim the electron beam; and (c) a phosphor-coated glass faceplate that

phosphoresces when struck by an electron beam, thereby producing a viewable image. A

faceplate coated with one color of phosphor produces a monochromatic image, while a faceplate

coated with multiple colors of phosphor produces a polychromatic image. An aperture or shadow

mask-a thin screen of perforated metal-is welded to the faceplate panel and, to produce a color
image, is coated and rinsed multiple times, leaving a surface of thousands of narrow lines of red,

green, blue and black.

                   98.     CRT technology was first developed more than a century ago. The first

commercially practical CRT television was made in 1931. However, it was not until RCA

Corporation introduced the product at the 1939 World's Fair that it became widely available to

consumers. After that, CRTs became the heart of most display products, including televisions,

computer monitots, oscilloscopes, air traffrc control monitors and ATMs.

                   99.     The quality of a CRT itself determines the quality of the CRT display. No

external control or feature can make up for a poor quality tube. In this regard, the CRT defines

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         the whole CRT product so that the product is often simply referred to as "the CRT'"
2
                             100. Although there have been refinements and incremental advancements along
J

         the way since then, such as the development of thinner CRTs and CRTs with a flat screen, the
4
         cRT technology used today is similar to that RCA unveiled in 1939.
5

                             101. CRTs canbe subdivided into CDTs and CPTs. As noted above, CPTs are
6
         used primarity in televisions and related devices and CDTs are primarily used in computer
7
         monitors and similar devices. The primary difference is that CDTs typically yield a higher
8

         resolution image requiring more pixels than do CPTs.
9
                             102. CRTs have no independent utility, and have value only as components of
l0
         other products, such as TVs and computer monitors. The demand for CRTs thus directly
                                                                                                    derives
1l
         from the demand for such Products.
t2
                             103. The market for CRTs and the market for the products into which they are
    l3
         placed are inextricably linked and intertwined because the CRT market exists to serve the CRT
    t4
         products markets. The markets for CRTs and CRT Products are, for all intents and purposes,
    l5
         inseparable in that one would not exist without the other'
    t6
                             104. Circuit City has participated in the market for CRTs through their direct
    t7
                                                                                               purchases of
         purchases from Defendants of CRT Products containing price-frxed CRTs and their
    l8
         CRT products containing price-fixed CRTs indirectly from non-Defendant original equipment
    t9
                                                                                                   prices at
         manufacturers (,.OEM") and others. Defendants' unlawful conspiracy has inflated the
    20
          which Circuit City bought CRT Products, and Circuit City has been injured thereby and paid
    21

          supra-competitive prices for CRT Products.
    22
                             105. Circuit City has participated in the market for products containing CRTs,
    23
          To the extent Circuit City indirectly purchased CRTs as part of a CRT Product, Defendants' and
    24
          their co-conspirators' unlawful conspiracy inflated the prices at which OEMs and others resold
    25
          CRTs in these products.
    26
                              106. Circuit City has been injured by paying supra-competitive prices for CRT
    21
          Products.
    28

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I
             B.         Structure of the CRT Industrv
2

J                       I07. The CRT industry has several characteristics that facilitated a conspiracy,
4    including market concentration, ease of information sharing, the consolidation of manufacturers,

5    multiple interrelated business relationships, significant barriers to entry, heightened price

6    sensitivity to supply and demand forces and homogeneity of products.

7                       l.     Market

8
                        108. During the Relevant Period, the CRT industry was dominated by relatively
9
     few companies. In 2004, Samsung SDI, LGPD (nlWa LP Displays), MTPD, and Chunghwa,
10
     together held a collective 78Yo share of the global CRT market. The high concentration of market
l1
     share facilitates coordination because there are fewer cartel members among which to coordinate
12
     pricing or allocate markets, and it is easier to monitor the pricing and production of other cartel
13
     members.
t4
                        2,     Information Sharins
15


16
                        109. Because of common membership in trade associations, interrelated
     business arrangements such as joint ventures, allegiances between companies in certain countries
17


t8   and relationships between the executives of certain companies, there were many opportunities for

t9   Defendants and co-conspirators to discuss and exchange competitive information. The ease of

20   communication was facilitated by the use of meetings, telephone calls, e-mails and instant

21   messages. Defendants and co-conspirators took advantage of these opportunities to discuss, and

22   agree upon, their pricing for CRTs as alleged below.

23                      3.     Consolidation

24
                        110. The CRT industry also had significant consolidation during the Relevant
25
     Period, including but not limited to: (a) the creation of LGPD in 2001, which was a joint venture
26
     involving Philips' and LG Electronics' CRT businesses; and (b) the 2002 merger of Toshiba's
2l
     and Panasonic's CRT businesses into MTPD.
28

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                    4.       Hieh Costs of Entrv Into the Industrv

                    11   1. There are significant manufacturing and technological barriers to entry into
the CRT industry. It would require substantial time, resources and industry knowledge to

overcome these barriers to entry. It is also extremely unlikely that a new producer would enter

the market in light of the declining demand for CRT Products.

                    lI2.     During the Relevant Period, the costs of the assembly components, both as

a whole and individually, have been generally declining, and, in some periods, declining at a

substantial rate. A combination of price discussions and manipulation of the output of CRTs
                                                                                                     for
allowed Defendants and co-conspirators to keep prices above where they would have been but

the conspiracy.

                    5.        Homoseneitv of CRT Products

                    ll3.      CRT Products are commodity-like products which are manufactured in

standardized sizes. One Defendant's CRT Product for a particular application, such
                                                                                                    as a

particular size television set or computer monitor, is substitutable for another's. Defendants and

co-conspirators sold CRTs primarily on the basis of price'

                    lI4. It is easier to form and sustain a cartel when the product in question is
commodity-like because it is easier to agree on prices to charge and to monitor those prices once

an agreement is formed.

         C.         Pre-ConsPiracv Market

                    115. The genesis of the CRT conspiracy was in the late 1980s as the CRT
products business became more international and Defendants began serving customers that were

 also being served by other international companies. During this period, the employees of

 Defendants would encounter employees from their competitors when visiting their customers. A

 culture of cooperation developed over the years and these Defendant employees would exchange

 market information on production, capacity and customers'

                     116. In the early 1990s, representatives from Samsung SDI, Daewoo,
                                                        35
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         Chunghwa, and Orion visited each other's factories in Southeast Asia. During this period, these
2

         producers began to include discussions about price in their meetings.
J

                 D.          Defend       t and Co           tors'Illesal
4


5                            ll7.     In order to control and maintain profitability during declining demand for
6        CRT Products, Defendants and their co-conspirators have engaged in a conttact, combination,
7        trust or conspiracy, the effect of which has been to raise, fix, maintain and/or stabilize the prices
8
         at which they sold CRTs to artificially inflated levels from at least March I, 1995 through at least
9
         November 25,2007.
l0
                             118. The CRT conspiracy was effectuated through a combination of group and
         bilateral meetings. In the formative years of the conspiracy (1995-1996), bilateral discussions
11


t2
         were the primary method of communication and took place on an informal, ad hoc basis' During
l3
         this period, representatives from Daewoo, LG Electronics and Samsung SDI visited other
t4                                                                                                            to
         manufacturers, including Philips, Chunghwa, Thai CRT, Hitachi, Toshiba and Panasonic,
15
                                                                                                            took
         discuss increasing prices for CRTs in general and to specific customers. These meetings
l6
         place in Taiwan, South Korea, Thailand, Japan, Malaysia, Indonesia and Singapore. Samsung
t7
         SDI, LG, and Chunghwa, along with Daewoo, also attended several ad hoc group meetings during
18
         this period. The participants at these group meetings also discussed increasing prices for CRTs.
    t9
                             119. As more manufacturers formally entered the conspiracy, group meetings
20
         became more prevalent. Beginning in 1997, group meetings occurred in a more organized,
21

         systematic fashion, and aformal system of multilateral and bilateral meetings was put in place.
22

z)
                              120. The overall CRT conspiracy raised and stabilized worldwide and U'S.
         prices that Defendants and their co-conspirators charged for CRTs.
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                   1.    íGlass Meetings"


                   lz1   The group meetings among the participants in the CRT price-hxing

conspiracy were referred to as "glass meetings" or "GSM." Glass meetings were attended by

employees at three general levels of the participant corporations.

                   122. The first level meetings were attended by high level company executives
including CEOs, Presidents, and Vice Presidents, and were known as "top" meetings. Top

meetings occurred less frequently, typically quarterly, and were focused on longer term

agreements and forcing compliance with price hxing agreements. Because attendees at top

meetings had authority as well as more reliable information, these meetings resulted in

agreements. Attendees at top meetings were also able to resolve disputes because they were

decision makers who could make agreements.

                   I23. The second level meetings were attended by high level sales managers and
were known as "management" meetings. These meetings occurred more frequently, typically

monthly, and handled implementation of the agreements made at top meetings'

                   124. Finally, the third level meetings were known as "working level" meetings
and were attended by lower level sales and marketing employees. These meetings generally

occurred on a weekly or monthly basis and were mostly limited to the exchange of information

and discussing pricing since the lower level employees did not have the authority to enter into

agreements. These lower level employees would then transmit the competitive information up the

corporate reporting chain to those individuals with pricing authority. The working level meetings

also tended to be more regional and often took place near the conspirators' factories. In other

words, the Taiwanese manufacturers' employees met in Taiwan, the Korean manufacturers'

employees met in Korea, the Chinese in China, and so on.

                   125. The Chinese glass meetings began in 1998 and generally occurred on a
monthly basis following a top or management level meeting. The China meetings had the

principal purpose of reporting what had been decided at the most recent glass meetings to the
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     Chinese manufacturers. Participants at the Chinese meetings included the manufacturers located
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     in China, such as IRICO and BMCC, as well as the China-based branches of other conspirators,
J

     including but not limited to Hitachi Shenzhen, Samsung SDI Shenzhen, Samsung SDI Tianjin,
4


5
     and Chunghwa.

6
                          126. Glass meetings also occurred occasionally in various European countries'
7    Attendees at these meetings included those conspirators which had subsidiaries and/or

8    manufacturing facilities located in Europe, including Philips, LG Electronics, LP Displays,

9    Chunghwa, Samsung, Daewoo (usually DOSA attended these meetings on behalf of Daewoo) and

l0   IRICO, Chunghwa also attended these meetings.
ll                        127. Representatives of the conspirators also attended what were known
t2   amongst members of the conspiracy as "green meetings." These were meetings held on golf

13
     courses. The green meetings were generally attended by top and management level employees of
14
     the conspirators. During the Relevant Period, glass meetings took place in Taiwan, South Korea,
l5
     Europe, China, Singapore, Japan,Indonesia, Thailand, Malaysia, and the United States'
16
                          128. Participants would often exchange competitively sensitive information
t7
     prior to a glass meeting. This included information on inventories, production, sales and exports.
18
     For some such meetings, where information could not be gathered in advance of the meeting, it
19
     was brought to the meeting and shared.
20
                          l2g. The glass meetings at all levels followed a fairly typical agenda. First, the
21
     participants exchanged competitive information such as proposed future CRT pricing, sales
22
     volume, inventory levels, production capacity, exports, customer orders, price trends and
23
     forecasts of sales volumes for coming months. The participants also updated the information they
24
     had provided in the previous meeting. Each meeting had a rotating, designated "Chairman" who
25
     would write the information on a white board. The meeting participants then used this
26
     information to discuss and agree upon what price each would charge for CRTs to be sold in the
27

      following month or quarter. They discussed and agreed upon target prices, price increases, so-
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         called "bottom" prices and price ranges for CRTs. They also discussed and agreed upon prices of
2

         CRTs that were sold to specific customers, and agreed upon target prices to be used in
J

         negotiations with large customers. Having analyzed the supply and demand, the participants
4

5
         would also discuss and agree upon production cutbacks.

6
                             130, During periods of oversupply, the focus of the meeting participants turned
7        to making controlled and coordinated price reductions. This was referred to as setting a "bottom

8        price."

9                            131. The conspiracy included agreements on the prices at which certain
10       conspirators would sell CRTs to their own corporate subsidiaries and affrliates that manufactured

1l       end products, such as televisions and computer monitors. The conspirators realized the
12       importance of keeping the internal pricing to their affiliated OEMs at a high enough level to

13       support the CRT pricing in the market to other OEMs. In this way, Defendants and their co-
t4       conspirators ensured that all direct purchaser OEMs paid supracompetitive prices for CRTs.
l5                           132, Each of the participants in these meetings knew, and in fact discussed, the
t6
         significant impact that the price of CRTs had on the cost of the finished products into which they
l1
         were placed, The conspirators therefore concluded that in order to make their CRT price
18
         increases stick, they needed to make the increase high enough that their direct customers (CRT
    t9
         TV and monitor makers) would be able to justify a corresponding price increase to their
20
         customers. In this way, Defendants and their co-conspirators ensured that price increases for
21
         CRTs \ /ere passed on to indirect purchasers of CRT Products.
22
                             I33, The agreements reached at the glass meetings included:
23
                                     a. agreements on CRT prices, including establishing fargeÍ. prices,
24
                                        "bottom" prices, price ranges and price guidelines;
25
                                     b. placing agreed-upon price differentials on various attributes of CRTs,
26
                                        such as quality or certain technical specifications;
27
                                     c. agreements on pricing for intra-company CRTs sales to vertically
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                               integrated customers;

                           d   agreements as to what to tell customers about the reason for a price

                               mcrease;

                           e. agreements to coordinate with competitors that did not attend the group
                               meetings and agreements with them to abide by the agreed-upon

                               pricing;

                            f. agreements to coordinate pricing with CRT manufacturers in other
                               geographic markets such as Btazil, Europe and India;

                            g. agreements to exchange pertinent information regarding shipments,
                               capacity, production, prices and customers' demands ;

                            h. agreements to coordinate uniform public statements regarding
                               available capacitY and suPPlY;

                            i. agreements to allocate both overall market shares and share of a
                               particular customet's Purchases;

                            j. agreements to allocate customers;
                            k. agreements regarding capacity, including agreements to restrict output
                               and to audit compliance with such agreements; and

                            l. agreements to keep their meetings secret.
                      134. Efforts were made to monitor each conspirator's adherence to these
 agreements in a number of ways, including seeking confirmation of pricing both
                                                                                       from customers

 and from employees of the conspirators themselves, When cheating did occur, it was
                                                                                            addressed


 in at least four ways: 1) monitoring;2) attendees at the meetings challenging other attendees if
                                                                                             principal
 they did not live up to an agreement; 3) threats to undermine a competitor at one of its

 customers; and 4) a recognition of a mutual interest in living up to the target price and living
                                                                                                    up to

 the agreements that had been made.

                      135. From 2005-2007 the group glass meetings became less frequent and
 bilateral meetings againbecame more prevalent.

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                             2.    Bilateral Discussions
2


J                            136. *ant                      Period, the glass meetings were supplemented by

4        bilateral discussions between various Defendants and their co-conspirators. The bilateral
5        discussions were more informal than the group meetings and occurred on a frequent, ad hoc basis,

6        often between the group meetings. These discussions, usually between sales and marketing
7        employees, took the form of in-person meetings, telephone contacts and emails'
8                            137. During the Relevant Period, in-person bilateral meetings took place in
9        Malaysia, Indonesia, Taiwan, China, United Kingdom, Singapore, South Korea, Japan, Thailand,
10       Brazil, Mexico, and the United States.
ll                           i38. The purpose of the bilateral discussions was to exchange information about
t2       past and future pricing, confirm production levels, share sales order information, confirm pricing

l3       rumors, and coordinate pricing with manufacturers in other geographic locations, including
14       Brazil, Mexico, Europe, and the United States.
15                           l3g. In order to ensure the efficacy of their global conspiracy, Defendants and
16       their co-conspirators also used bilateral meetings to coordinate pricing with CRT manufacturers
t7       in Brazil, Mexico, and the United States, such as Philips Brazil, Samsung SDI Brazil and
18       Samsung SDI Mexico. These Brazilian and Mexican manufacturers were particularly important
19       because they served the North American market for CRT Products. As further alleged herein,

20       North America was the largest market for CRT televisions and computer monitors during the
21       Relevant period. Because these manufacturers are all wholly-owned and controlled subsidiaries
22        of philips and Samsung SDI, they adhered to the unlawful price-fixing agreements. In this way,
23        Defendants and their co-conspirators ensured that prices of all CRTs sold in the United States
24        were fixed, raised, maintained andlor stabilized at supracompetitive levels.
25                           140. Defendants and co-conspirators also used bilateral discussions with each
26        other during price negotiations with customers to avoid being persuaded by customers to cut
    27    prices. The information gained in these communications was then shared with supervisors and
    28    taken into account in determining the price to be offered.
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